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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Southern District
                                                    __________  District of
                                                                         of Florida
                                                                            __________

                      JOSEPH AMODIO                                   )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 20-CV-61295-RKA
                                                                      )
          CAVALRY INVESTMENT, LLC, and                                )
        CAVALRY PORTFOLIO SERVICES, LLC                               )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CAVALRY PORTFOLIO SERVICES, LLC
                                           C T CORPORATION SYSTEM
                                           1200 SOUTH PINE ISLAND ROAD
                                           PLANTATION, FL 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Jibrael S. Hindi, Esq.
                                           E-mail: jibrael@jibraellaw.com
                                           Phone: 954-907-1163
                                           Law Offices of Jibrael S. Hindi, PLLC
                                           110 S.E. 6th Street, Suite 1700
                                           Fort Lauderdale, Florida 33301
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT

                                                                                                     s/ Yesenia Rodriguez
Date:             07/01/2020
                                                                                          Signature of Clerk or Deputy Clerk
